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 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11   JOHN THOMAS, Individually and on                  Case Nos.: 22-CV-01936-CAB-MSB
     Behalf of All Others Similarly Situated           and 23-CV-0043-CAB-MSB
12
                                      Plaintiff,
13                                                     ORDER GRANTING JOINT
     v.                                                MOTION TO CONSILIDATE CASES
14
                                                       AND ADDRESS SCHEDULING
     SILVERGATE CAPITAL
15
     CORPORATION, ALAN J. LANE, and
16   ANTONIO MARTINO,
17                                 Defendants.
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19         On January 17, 2023, the Parties in Thomas v. Silvergate Capital Corp. (Case No.
20   23-cv-0043-CAB-MSB) filed a joint motion to consolidate cases pursuant to Federal Rule
21   of Civil Procedure 42(a). Upon review of the Parties’ motion, and good cause appearing,
22   the motion is hereby GRANTED.
23         It is hereby ORDERED:
24         1. Case No. 22-cv-1936 and Case No. 23-cv-0043 are CONSOLIDATED. All
25            future filings shall be filed in 22-cv-1936-CAB-MSB.
26         2. No defendant shall be required to answer or otherwise respond to the original
27            Complaint filed in Thomas, except as set forth below; and
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                                                         22-CV-01936-CAB-MSB and 23-CV-0043-CAB-MSB
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 1         3. Within fourteen (14) days after the Court enters an order appointing a lead
 2            plaintiff and approving plaintiff’s counsel in In re Silvergate Capital Corp.
 3            Securities Litigation, counsel for the lead plaintiff and counsel for the defendants
 4            shall meet and confer regarding (1) the time for the lead plaintiff to file a
 5            consolidated amended complaint or provide notice of the lead plaintiff’s intent to
 6            rely on an original Complaint filed in one of the actions under In re Silvergate
 7            Capital Corp. Securities Litigation (the “operative complaint”); (2) the time for
 8            defendants to respond to the operative complaint; and (3) the schedule for
 9            briefing any motion to dismiss that may be filed by a defendant.
10         It is SO ORDERED.
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12   Dated: January 17, 2023
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                                                        22-CV-01936-CAB-MSB and 23-CV-0043-CAB-MSB
